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             11                       SOUTHERN DISTRICT OF CALIFORNIA
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             I-,   HILARIO GONZALES,                        Case No.    3:19-cv-0050-JAH-AGS
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            14                  Plaintiff,                  MEMORANDUM OF POINTS AND
 Du                                                         AUTHORITIES IN SUPPORT OF
      U-)    15          v.                                 DEFENDANT BAYVIEW LOAN
                                                            SERVICING, LLC’S MOTION TO
             16    BAYVIEW LOAN SERVICING,                  DISMISS PLAINTIFF’S VERIFIED
                   LLC, a business entity form              COMPLAINT
             17    unknown; CLEAR RECON CORP.,
                   a business entity foniis unknown;        Date:        May6,2019
             18    and DOES 1-100, inclusive,               Courtroom: 4B
                                                            Judge:       Hon. Cynthia A. Bashant
             19                 Defendants.                 Magistrate Judge: Hon. Andrew G.
                                                            Schopler
            20                                              Complaint Filed: January 8, 2019
                                                            Trial Date: None set
            21
            77           Defendant BAYVIEW LOAN SERVICING, LLC submits the following
            23     Memorandum of Points and Authorities in support of its Motion to Dismiss
            24     Plaintiff HILARIO GONZALES’ Verified Complaint.
            25     I.    INTRODUCTION
            26           Plaintiffs new lawsuit fails as a matter of law because the entirety of his
            27     claim is to enforce a lILA rescission he claims occurred in 2016— which by the
            28     express language of the complaint is seven (7) years too late. The complaint is
                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
                                 LOAN SERVICING INC S MOTION TO DISMISS PLAINTIFF S VERIFIED COMPLAINT
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       1   subject to a motion to dismiss because not only is the alleged notice of TILA
      2    rescission time barred, this lawsuit in an attempt to enforce the TILA rescission is
      3    also time barred.
      4           Plaintiffs claim also fails because he has failed to allege he has tendered the
      5    amount loaned. In other words, based on the express language of the complaint,
      6    because the loan was signed, DOT recorded, and plaintiff made payments in
      7    conformity with the loan terms starting in June 2006, a TILA rescission deadline
      8    would have been in 2009. An alleged rescission in 2016 would have been 7 years
      9    too late, Plaintiffs conclusory claim that it was not “consummated” simply defies
c&   10    logic, black letter law, and the fact that he initially made payments in compliance
     11    with the loan terms, and as late as June 2017 he was still submitting modification
ci


     12    applications, recognizing the validity and enforcement of the Deed of Trust.
     13    II.    FACTUAL ALLEGATIONS AND PROCEDURAL HISTORY
     14           A.    The Property at Issue
     15           Plaintiff Hilario Gonzales borrowed $1,000,000, secured by the property
     16    located at 30945 Cuvaison, Bonesall, California 92003 through a Deed of Trust
     17    and recorded July 6, 2006. (Complaint ¶ 14; Request for Judicial Notice (“RJN”)         ¶
     18    1 .). Bayview acquired the servicing of the loan in February 2015. (Complaint ¶
     19    19). On July 19, 2016, a Notice of Default and Intent to Accelerate was issued to
     20    Plaintiff informing him that because his loan was 2,575 days in default, he was at
     21    risk of losing his home. (RJN ¶ 2.)
     22           B.    First Lawsuit   —   Plaintiff Recognizes the DOT as Valid and
     23                 Enforeceable
     24          Plaintiff filed a prior lawsuit entitled Gonzales v. Bayview Loan Servicing,
     25    Case No. 37-2017-00024546-CU-OR-NC in July 2017. In that case, Plaintiff
     26    alleged a myriad of HBOR violations, but did not allege a 2016 TILA rescission.
     27    After several meet and confer efforts and after counsel for Defendants performed a
     28    thorough review of the file, it was explained to Plaintiffs attorney at the time that
                 MEMORANDUM Of POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
                  LOAN SERVICING INC S MOTION TO DISMISS PLAINTIfF S VERIFIED COMPLAINT
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       1   the Bayview complied with all relevant law, had given Plaintiff multiple loan
       2   modification application opportunities, but the fact remained that Plaintiffs
       3   principle balance was more than $700,000 and the loan was due for 2,575 days       —




      4    that’s 7 years. (Henderson Declaration ¶ 4). Interestingly, the prior lawsuit made
       5   zero mention of a 2016 TILA rescission. (Henderson Declaration ¶ 5). Plaintiffs
       6   attorney in that lawsuit withdrew as counsel in January 2018, Bayview propounded
       7   discovery on Plaintiff to proceed with the litigation process, and Plaintiff
       8   voluntarily dismissed the lawsuit without prejudice in late January 2018.
       9   (Henderson Declaration ¶ 6).
      10         Notably, Plaintiff alleged in the prior lawsuit:
     11                   That he was under loan modification review in September 2016 (RJN
     12                   ¶3, par. 25);
      13              e   That he was still under review for loan modification on March 2 2017
      14                  (RJNJ3,par.31);
aD
     15               e   That in June 2017 he resubmitted an updated complete financial
      16                  package to Bayview (RJN ¶ 3, par.32.
      17         In other words, as late as June 2017, Plaintiff was still treating the terms of
      18   the Deed of Trust as enforceable and valid as he attempted loan modification
      19   review. So how could he have rescinded it in 2016?
     20          C.       Current Lawsuit 2016 TILA Rescission
                                            -




     21          Now Plaintiff alleges that he was not provided accurate material disclosures
     22    or two copies of Notices of Right to Cancel in a form that he could take home from
     23    the closing. (Complaint ¶ 16). As result, according to plaintiff, the parties to the
     24    subject loan were misrepresented. And the loan was not consummated as disclosed
     25    within the meaning of the Truth in Lending Act (“TILA”). (Complaint ¶J 16, 17).
     26    Plaintiff now says that he rescinded the Note and Deed of Trust by operation of
     27    law by mailing written notice dated September 13, 2016. (Complaint ¶ 21).
     2$    Amazingly, none of this was alleged in plaintiffs first lawsuit. It is also
                MEMORANDUM Of POINTS AND AUTHORITIES IN SUPPORT Of DEFENDANT BAYVIEW
                 LOAN SERVICING, INC’S MOTION TO DISM1SS PLAINTIFF’S VERIFIED COMPLAINT
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         1   contradicted by the fact that Plaintiff alleges in the prior lawsuit that he
         2   acknowledged the enforcement of the Deed of Trust as late as June 2017. (RJN ¶
         3   3).
         4   III.   LEGAL STANDARD FOR MOTION TO DISMISS
         5          Pursuant to Rule 12(b)(6), a motion to dismiss will be granted when the
         6   plaintiff can prove no set of facts in support of his claim that would entitle him to
         7   relief. (Conley v. Gibson, 355 U.S. 41, 45-46 (1957). Rule 12(b)(6) permits
         $   dismissal of a claim either where the claim lacks a cognizable legal theory or
         9   where insufficient facts are alleged to support the plaintiffs theory. (See Balistreri
o      10    v. Pacflca Police Dept., 901 F.2d 696, 699 (9th Cir. 1990). To survive a Rule
        11   12(b)(6) motion, a complaint must contain factual allegations sufficient “to raise a
HDO           .          .

       12    right to relief above the speculative level.
                                                 .
                                                             (Bell Ati. Corp. v. Twombly, 127 S. Ct.
       13    1955, 1965 (2007). In resolving a Rule 12(b)(6) motion, the court must construe
       14    the complaint in the light most favorable to the plaintiff and must accept all well
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       15    pleaded factual allegations as true. (Cahillv. Liberty Mutual Ins. Co., 80 F.3d 336,
       16    337-38 (9th Cir. 1996.) However, a court is not required to credit “conclusory
       17    allegations of law and unwarranted inferences.” (Jet Source Charter, Inc. v.
        18   GerniniAir Group, Inc., 2007 U.S. Dist. LEXIS 85308, 4-6 (S.D. Cal. 2007).
        19          Additionally, it is inappropriate to assume that the plaintiff “can prove facts
       20    which it has not alleged or that the defendants have violated the.      .   .   laws in ways
       21    that have not been alleged.” (Associated Gen. Contractors of Cal,, Inc. v. Cal.
       22    State Council of Carpenters, 459 U.S. 519 (1983). Moreover, the court “need not
       23    assume the truth of legal conclusions cast in the form of factual allegations.”
       24    (Chunie v. Ringrose, 788 f.2d 638, 643 n.2 (9th Cir. 1986).
       25           A.       Plaintiff Fails to State a Cause of Action Against Bayview
       26           Plaintiff has failed to state a cause of action for TILA rescission on its face.
       27    While Plaintiffs Complaint is littered with legal conclusions and theories, it fails
       28    to allege any specific facts to support a conizable theory of wrongdoing. A Rule
                    MEMORANDUM Of POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
                     LOAN SERVICING, INC.’S MOTION TO DISMISS PLAINTIFF’S VERIFIED COMPLAINT
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  1   12(b)(6) dismissal is proper when the complaint fails to allege sufficient facts to
  2   support a cognizable legal theory. (Caltex Plastics, Inc. v. Lockheed Martin Corp.
  3   (9th Cir. 2016) 824 f3d 1156, 1159.) To survive a Rule 12(b)(6) motion, the facts
  4   alleged must state a “facially plausible” claim for relief. (Bell Atlantic Corp.   V.

  5   Twombly (2007) 550 U.S. 544, 555.)
  6         Plaintiff makes conclusory, unsupported, and vague allegations that he
  7   rescinded the Deed of Trust and that the Deed of Trust was never consummated.
  8   And presto! Plaintiff wants this Court to accept this as true despite other alleged
  9   facts, pleadings, exhibits, recorded public records, and federal law expressly
 10   contradicting this unsupported statement. F or example, it is alleged that, “Plaintiff
 11   did not have, and could not have had a reasonable opportunity to discover the
 12   material disclosure breaches until very recently due to the active
 13   misrepresentations by Defendants...” (Complaint ¶ 61.) More importantly,
 14   however, is Plaintiffs unsupported assertion that his loan transaction never
 15   “consummated” as the term is contemplated under TILA (Complaint ¶ 64). This
 16   statement is completely conclusory, unsupported, and contradicted by the fact that
 17   the Deed of Trust was 100% consummated no later than 2006 when Plaintiff
 18   started making mortgage payments. Plaintiff signed the DOT in question and
19    became obligated to make payments on the loan since June 2006        —   something that
20    he admits to on the face of his Complaint. (Complaint ¶ 14.)
21          TILA permits borrowers in certain types of consumer credit transactions to
22    rescind the transaction unconditionally within three business days of the
23    transaction’s consummation. (15 U.S.C.     §   1635(a); Jesinoski v. Countiywide Home
24    Loans, Inc. (2015) 135 S.Ct. 790, 792.) After those three days, the borrower has a
25    conditional right to rescind when the lender has failed to satisfy TILA’s disclosure
26    requirements. (15 U.S.C.   §   1635(f); Jesinoski v. Countrywide Home Loans, Inc.,
27    supra, at p. 792.) The conditional right to rescind expires “three years after the
28    date of consummation of the transaction or upon the sale of the property,
           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
            LOAN SERVICING, INC’S MOTION TO DISMISS PLAINTIFF’S VERIFIED COMPLAINT
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                1    whichever occurs first.    .
                                                    .   .“
                                                             (15 U.S.C.   §   1635(f).) A transaction is
                2    “consummated” for purposes of TILA when the consumer “becomes contractually
                3    obligated” on the credit transaction. (12 C.F.R.              § 226.2(a)(13).)
                4            Here, even assuming Plaintiffs conclusory allegations that Defendants
                5    failed to satisfy TILA disclosure requirements, the three-year clock started ticking
                6    in 2006, when the transaction was “consummated”                     when Plaintiff became
                7    contractually obligated to make his mortgage payments on the subject loan. His
                8   unsupported claim that the loan was never “consummated” simply defies logical,
                9   his own stated facts, and black letter law.
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               10            Plaintiff fails to allege sufficient facts to support a cognizable legal theory
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               11    against Bayview making the Complaint subject to a motion to dismiss. (Caltex
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               12   Plastics, Inc. v. Lockheed Martin Corp., supra, 824 f3d at p. 1159.) Because his
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           -
               13    theories are unsupported and contradicted by the evidence, Plaintiff has failed to
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     — z       14    allege a “facially plausible” claim for relief making the Complaint subject to a
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          U,   15    Rule 12(b)(6) motion. (Bell Atlantic Corp v. Twombly (2007) 550 U.S. 544, 555.)
               16            For these reasons, Plaintiffs entire Complaint should be dismissed without
               17    leave to amend.
               18            B.    Plaintiffs Notice of Rescission and Enforcement Lawsuit are Both
               19                  Time-Barred
               20                   1.    Notice of TILA Rescission is Time-Barred
               21            Plaintiffs alleged notice of rescission is time barred because based on the
               22    express language of the Complaint, it was seven (7) years too late. (See 15 U.S.C.
               23    §   1635(a); Jesinoski v. Countrywide Home Loans, Inc. (2015) 135 S.Ct. 790, 792.)
               24    And after those three days, the borrower has a conditional right to rescind when the
               25    lender has failed to satisfy TILA’s disclosure requirements. (15 U.S.C.                       §    1635(f);
               26   Jesinoski v. Countrywide Home Loans, Inc., supra, at p. 792.) The conditional
               27    right to rescind expires “three years after the date of consummation of the
               28    transaction or upon the sale of the propertr, whichever occurs first.                 .   .   .“   (15
                            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
                             LOAN SERVICING, INC.’S MOTION TO DISMISS PLAINTIFF’S VERIFIED COMPLAINT
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        1   U.S.C.   §   1635(f).) A transaction is “consummated” for purposes of TILA when the
       2    consumer “becomes contractually obligated” on the credit transaction. (12 C.F.R.         §
       3    226.2(a)(13).)
       4          Here, Plaintiff signed the DOT in June 2006, made payments in performance
        5   of his obligation under contract, and gave notice of a TILA rescission in 2016.
       6    (Complaint     ¶     14-21). This would go beyond the 3 day time limit (or 3 year time
       7    limit in best case scenario for the borrower even assuming he really wasn’t
        $   provided TILA material disclosure notice). Plaintiffs unsupported, conclusory
       9    claim that the loan was not “consummated” within the meaning of TILA, and is
      10    expressly contradicted by federal regulations and case law. Consummation is
      11    determined according to state law. (Jackson v. Grant (9th Cir. 1989) 290 F.2d 118,
      12    120.) For this California plaintiff, consummation occurred on the date the loan
      13    closed and was funded. (See, e.g., Raceway ford Cases (2016)2 Cal.Sth 161, 171)
      14    Here, that was way back in June 2006       —   supported by the face of the complaint.
cou
      15    Thus the rescission notice was seven years too late. The borrower concedes the
      16    DOT was recorded June 6, 2006, more than 10 years prior to the alleged notice of
      17    rescission. Not only that, Plaintiff was still recognized the enforceability of the
       18   Deed of Trust as late as June 2017 when he submitted another loan modification,
       19   almost a year after he says he rescinded it. (RJN ¶ 3).
      20          As a result, plaintiffs TILA rescission claim fails as a matter of law and his
      21    case should be dismissed without leave to amend.
      22                    2.       The Lawsuit to Enforce the TILA Rescission is Time-
      23                             Barred
      24          Plaintiffs lawsuit is time-barred because even according to his own facts,
      25    his deadline to file a lawsuit to enforce the TILA rescission would have been no
      26    later than 2017.
      27          Every Court in the Ninth Circuit has “found that the plaintiff must bring the
      28    claim within one year of the creditor’s denial or failure to respond.” (See, e.g.,
                 MEMORANDUM Of POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
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          1   Pearce v, Bank ofAm. Home Loans, 2010 U.S. Dist. LEXIS 65307, at *5 (N.D.
          2   Cal. June 8, 2010); Santos v. Coitntryivide Home Loans, 2009 U.S. Dist. LEXIS
          3   71736, at *4 (E.D. Cal. Aug. 14, 2009); Horton v. Cal. Credit Corp. Ret., 2009
          4   U.S. Dist. LEXI$ 20612, at *5 (S.D. Cal. Mar. 16, 2009). These courts have found
          5   that once an obligor provides notice of rescission, section 1640(e), and not 1635(f)
          6   applies, requiring the obligor to file an action “within one year from the date of the
          7   occurrence of the violation.” (Pearce, supra, 2010 U.S. Dist. LEXIS 65307, at *5.)

          8            In any scenario, Plaintiffs claim is time barred. Not only was any purported
          9   rescission too late, so too is this suit for “enforcement of rescission.” Thus,
         10   plaintiffs lawsuit should be dismissed without leave to amend for this reason as
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- o

         11   well.
“i       12           C.     Plaintiffs Sole Cause of Action        —   “Rescission”   —   Is A Form of
         13                  Relief, Not a Freestanding Cause of Action
         14           In addition to the fatal flaws of the face of the complaint, plaintiffs lawsuit
         15   fails because rescission is not a standalone cause of action. “Rescission is not a
         16   freestanding cause of action but rather relief that may be granted as a result of
         17   unlawful conduct.” (Moreno v. Citibank, N.A., No. C 09-5339 CW, 2010 U.S. Dist.
         18   LEXIS 25955, at *9 (N.D. Cal. Mar. 19, 2010) (citing Cal. Civ. Code §sS 1689,
         19   1691-92.) Under section 1691, “[T]o effect a rescission a party to the contract
        20    must, promptly upon discovery of the facts which entitle him to rescind            ...   (b)
        21    Restore to the other party everything of value which he has receivedfrom him
        22    under the contract     ...   .“   (Emphasis added). The consequence of rescission is not
        23    only the termination of further liability, but, perhaps more importantly, the
        24    restoration of the parties to their fonner positions by requiring each to return
        25    whatever consideration has been received. (Nmsbpcsldhb v. County offresno,
        26    152 Cal, App. 4th 954, 960 (2007); see also Imperial Casualty & Indemnity Co. v.
        27    Sogomonian, 198 Cal. App. 3d. 169, 184 (1998)) (Emphasis added).
        28    ///
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                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT BAYVIEW
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               1   Plaintiff has failed to allege that he has restored Bayview to its form position by
               2   tendering the amount on the loan. Because there are no allegations in the
               3   Complaint wherein Plaintiff even hints he has tendered the amount loaned, his
               4   claim seeking rescission should be dismissed.
               5   IV.   CONCLUSION
               6         Plaintiffs alleged TILA rescission      —   an allegation that was remarkably not
               7   brought in Plaintiffs prior lawsuit   —   fails as a matter of law because both the notice
               8   of rescission and the lawsuit to enforce the rescission are time-barred. Rescission
               9   is not even a freestanding lawsuit in the first place. For these reasons and reasons
            10     more fully explained above, Defendant Bayview Loan Servicing respectfully
            11     request that this Court dismiss plaintiffs complaint in its entirety without leave to
            12     amend.
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            14                                                Respectfully submitted,
            15                                                 KLINEDINST PC
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            17
                   DATED: March 21, 2019                      By: /s/Austin R. Hen flerson
            1$
                                                                  Ian A. Rambarran
            19                                                    Austin R. Henderson
                                                                  Attorneys for Defendant
           -                                                      BAYVIEW LOAN SERVICING,
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